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              NOTICE REGARDING TELEPHONIC CHAPTER 7 § 341
            MEETINGS IN THE EASTERN DISTRICT OF PENNSYLVANIA
                           (Effective April 24, 2020)

On April 24, 2020, the United States Trustee for Region 3 issued a supplemental notice continuing
all in-person chapter 7, 12, and 13 section 341 meetings for cases filed through July 10, 2020.
Chapter 13 debtors should refer to their standing trustee’s protocol or website for additional
information.

All debtor attorneys and debtors are encouraged to participate in section 341 meetings by
telephone, or by such remote means as the trustee has established and noticed. Attorneys and
debtors may call in from separate locations. Creditors and creditor attorneys may appear remotely
and should use the information provided below or on the docket to participate.

All parties are encouraged to contact the case trustee, check the case docket, and the UST website
for up-to-date information about section 341 meetings of creditors.

Unless otherwise instructed, to participate in a telephonic section 341 meeting, you should use the
Call-In Number and Passcode assigned to your trustee, which will be posted to the case docket
prior to the section 341 meeting date.

Unless otherwise directed by your trustee, please call-in five minutes before your assigned meeting
time and mute your telephone until your case is called.

Please follow the instructions below to ensure a smooth telephonic section 341 meeting of
creditors.

        You must use a touch-tone phone.
        If you have a choice, use a landline phone, instead of a cell phone.
        Dial the call-in number and then enter the passcode, which consists of 7 numbers and is
         followed by a # sign.
        Make the call from a quiet area where there is as little background noise as possible.
        Mute your phone and do not speak until the bankruptcy trustee calls your ca (Other
         meetings of creditors will likely be in session when you call in. You will still be able to
         hear the trustee even when your phone is muted.)
        Unmute your phone when the trustee calls your case so that the trustee can hear you.
        Wait until the trustee calls your case before speaking because more than one case may be
         waiting on the conference line at any given time.
        When speaking, identify yourself.
        Do not put the phone on hold at any time after the call is connected.
        Once your meeting of creditors is finished, hang up.
        If you become disconnected before your meeting of creditors is finished, call back.
        If you are calling in from another country, please see the additional information
         available at:
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       https://www.mymeetings.com/audioconferencing/pdf/GlobalAccessDialingInfo
       ation.pdf

Debtor’s counsel must verify on the record that they have confirmed their client’s identity prior to
the section 341 meeting of creditors, either via Facetime or Skype o other means.

Required documents for the section 341 meeting of creditors should be provided to the trustee a
week prior to the section 341 meeting of creditors. These documents should include information
sufficient for the trustee to verify the debtor’s SSN. Debtors shall have these documents available
during the section 341 meeting of creditors in the event there are questions about the information
in the documents.

The section 341 meeting of creditors will be recorded by the trustee. Any other recordings are
prohibited.

Please follow the instructions below for Trustee Seitzer’s 341a meetings to ensure a smooth
telephonic section 341 meeting of creditors.

      If joining using Zoom please use the following information: To join the meeting use the
       url- https://us06web.zoom.us/j/7912546048?pwd=U1FoSjFsdEJDSDZJaHM1WGZ0ekhsUT09
       once connected use the Meeting ID: 791 254 6048. Passcode: 73Gs5R.
      If joining Telephonic only, please use the following information on the day of your 341
       meeting: Dial in Number: +1 312 626 6799 Meeting ID: 791 254 6048. Passcode:
       73Gs5R.
      You must use a touch-tone phone.
      If you have a choice, use a landline phone, instead of a cell phone.
      Dial the call-in number and then enter the meeting ID, which consists of 10 numbers and
       is followed by a # sign.
      Make the call from a quiet area where there is as little background noise as possible.
      Mute your phone and do not speak until the bankruptcy trustee calls your case. (Other
       meetings of creditors will likely be in session when you call in. You will still be able to
       hear the trustee even when your phone is muted.)
      Unmute your phone when the trustee calls your case so that the trustee can hear you.
      Wait until the trustee calls your case before speaking because more than one case may be
       waiting on the conference line at any given time.
      When speaking, identify yourself.
      Do not put the phone on hold at any time after the call is connected.
      Once your meeting of creditors is finished, hang up.
      If you become disconnected before your meeting of creditors is finished, call back.
      If you are calling in from another country, please see the additional information available
       at: https://www.mymeetings.com/audioconferencing/pdf/GlobalAccessDialingInformation.pdf

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in the documents.

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prohibited.

Any questions or problems please contact the Trustee via email at rseitzer@karalislaw.com.
